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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

Raul A Vasquez
                             Plaintiff,
v.                                                   Case No.: 1:19−cv−06014
                                                     Honorable John Z. Lee
City Of Chicago
                             Defendant.



                  NOTICE OF MANDATORY INITIAL DISCOVERY

The Court is participating in the Mandatory Initial Discovery Pilot (MIDP). The key
features and deadlines are set forth in this Notice which includes a link to the (MIDP)
Standing Order and a Checklist for use by the parties. In cases subject to the pilot, all
parties must respond to the mandatory initial discovery requests set forth in the Standing
Order before initiating any further discovery in this case. Please note: The discovery
obligations in the Standing Order supersede the disclosures required by Rule 26(a)(1).
Any party seeking affirmative relief must serve a copy of the following documents
(Notice of Mandatory Initial Discovery and the Standing Order) on each new party when
the Complaint, Counterclaim, Crossclaim, or Third−Party Complaint is served.
